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 9
                              UNITED STATES DISTRICT COURT
10                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                    WESTERN DIVISION
11

12    BROIDY CAPITAL MANAGEMENT LLC                              Civil Case No.:
      and ELLIOTT BROIDY,
13                                                               2:18-CV-02421-JFW-(Ex)
14           Plaintiffs,

15                                                               DEFENDANT STATE OF QATAR’S
             v.
                                                                 MEMORANDUM OF POINTS AND
16                                                               AUTHORITIES IN OPPOSITION
      STATE OF QATAR, STONINGTON
17                                                               TO PLAINTIFFS’ MOTION FOR
      STRATEGIES LLC, NICOLAS D.
                                                                 THE COURT TO SOLICIT THE
18    MUZIN, GLOBAL RISK ADVISORS
                                                                 POSITION OF THE UNITED
      LLC, KEVIN CHALKER, DAVID MARK
19                                                               STATES DEPARTMENT OF STATE
      POWELL, MOHAMMED BIN HAMAD
20    BIN KHALIFA AL THANI, AHMED AL-
      RUMAIHI, and DOES 1-10,
21

22           Defendants.
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        DEFENDANT STATE OF QATAR’S MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
                      THE COURT TO SOLICIT THE POSITION OF THE UNITED STATES DEPARTMENT OF STATE
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      DEFENDANT STATE OF QATAR’S MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO PLAINTIFFS’ MOTION FOR THE
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 1                                              INTRODUCTION
 2           Plaintiffs urge this Court to seek the views of the U.S. Department of State (“State
 3    Department”) before deciding whether the First Amended Complaint (“FAC”) fits within
 4    an exception to the Foreign Sovereign Immunities Act (“FSIA”). Federal courts
 5    generally do not ask the Executive Branch to weigh in on Rule 12 motions, and Plaintiffs
 6    provide no good reason to do so here. Instead, Plaintiffs’ motion is another delaying
 7    tactic designed to buy Plaintiffs more time to abuse the discovery process in support of
 8    their geopolitical agenda.
 9           Plaintiffs’ arguments depend entirely on two premises. Because the two premises
10    are incorrect, the motion should be denied. First, Plaintiffs misstate the Executive
11    Branch’s role in determining the immunity of a foreign sovereign. Congress has
12    minimized that role by enacting the FSIA for the express purpose of transferring
13    “primary responsibility for immunity determinations from the Executive to the Judicial
14    Branch.” Republic of Austria v. Altmann, 541 U.S. 677, 691 (2004). Qatar’s motion to
15    dismiss therefore calls for judicial application of the FSIA, not deference to the State
16    Department’s views—if the State Department were even inclined to take a position, and
17    there is no reason to expect it would. Because interpretation of the FSIA falls within the
18    province of the courts, as Plaintiffs ultimately concede, Dkt. 169-1 at 3, the motion fails.
19           Second, Plaintiffs mischaracterize Qatar’s immunity arguments as turning on
20    factual matters within the exclusive province of the Executive Branch. But Qatar’s
21    statutory jurisdictional challenge is made entirely on the face of the FAC. Plaintiffs
22    argue otherwise by selectively citing information from the motion to dismiss’ background
23    section. That information provides context but does not supplant the FSIA or its narrow
24    exceptions, which are the only legal issues presented in Qatar’s motion to dismiss.
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 1           At root, Plaintiffs do not really seek the State Department’s views, but the delay
 2    associated with asking for them. 1 The motion should be denied.
 3                                           ARGUMENT
 4    I.     Plaintiffs misstate the role of the Executive Branch in sovereign immunity
             determinations.
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             The motion depends on Plaintiffs’ assertion that the State Department’s views will
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      help the Court determine whether Qatar is immune from suit. But the “Findings and
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      declaration of purpose” of the FSIA unambiguously state that, “[c]laims of foreign states
 8
      to immunity should henceforth be decided by courts of the United States and of the States
 9
      in conformity with the principles set forth in this chapter.” 28 U.S.C. § 1602.
10
      Accordingly, the FSIA provides “a comprehensive framework for resolving any claim of
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      sovereign immunity” without a requirement for input from the Executive Branch.
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      Altmann, 541 U.S. at 699; see also Argentine Rep. v. Amerada Hess Shipping Corp., 488
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      U.S. 428, 436 n.3 (1989) (discussing “Congress’ intention to enact a comprehensive
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      statutory scheme”). Indeed, courts have consistently recognized that Congress’ purpose
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      in enacting the FSIA was to avoid precisely the gambit that Plaintiffs attempt here, and to
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      eliminate the courts’ need for reliance on Executive Branch determinations of immunity.
17
      See, e.g., Altmann, 541 U.S. at 699; Siderman de Blake v. Republic of Argentina, 965
18
      F.2d 699, 705 (9th Cir. 1992) (“With the enactment of the FSIA in 1976, Congress
19
      replaced the regime of deference to Executive suggestion.”).
20
             Plaintiffs concede that it would be improper for this Court to seek a statement of
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      interest on a “pure question of statutory construction,” but selectively quote Republic of
22
      Austria v. Altmann for the proposition that the opinion of the State Department on foreign
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      1
24      In meeting and conferring on the instant motion, Qatar asked Plaintiffs if they would be
      willing to agree to a complete stay of discovery pending the requested Statement of
25    Interest. Plaintiffs’ refusal to agree to this reasonable condition reveals they are really
      only interested in deferring dismissal of this case while they continue to seek confidential
26    information about Qatar’s diplomatic affairs.
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 1    policy and national security issues within its purview “might well be entitled to deference
 2    as the considered judgment of the Executive on a particular question of foreign policy.”
 3    Dkt. 169-1, 3:26-27 (quoting Altmann, 541 U.S. at 702). The Altmann court was not
 4    describing the situation at issue here, where a court, on the motion of a party, is asked to
 5    solicit a statement of interest from the State Department. Instead, the Altmann court’s
 6    passing comment merely recognized the State Department’s independent ability to submit
 7    a statement of interest, through the Department of Justice, to “attend to [its] interests” in
 8    any case pending in United States courts. 28 U.S.C. § 517. But where, as here, the FSIA
 9    articulates clear legal grounds to hold a sovereign state immune from suit, the court
10    should do so and has no need to seek input from the State Department on the surrounding
11    foreign policy context. That is because, by “set[ting] forth the sole and exclusive
12    standards to be used in resolving questions of sovereign immunity,” the FSIA reduced the
13    “foreign policy implications” of immunity determinations and ensured that they could be
14    “made on purely legal grounds.” H.R. Rep. No. 94-1487, at 7, 12 (1976) (emphasis
15    added).
16           The other cases cited by Plaintiffs are even less relevant; they address either the
17    political question or act of state doctrine, neither of which is at issue here nor mentioned
18    anywhere in Qatar’s brief. See Oetjen v. Central Leather Co., 246 U.S. 297, 302 (1918)
19    (addressing political question doctrine); Alperin v. Vatican Bank, 410 F.3d 532, 559 (9th
20    Cir. 2005) (same); Doe v. Qi, 349 F. Supp. 2d 1258 (N.D. Cal. 2004) (addressing act of
21    state doctrine)2; Nat’l Coalition of the Union of Burma v. Unocal, Inc., 176 F.R.D. 329
22    (C.D. Cal. 1997) (same). Courts have recognized that, because no comprehensive
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        Notably, in Qi, the court first considered the “threshold” question concerning
25    applicability of the FSIA, and then turned to the act of state doctrine only after it found
      that the FSIA did not in that case divest the court of jurisdiction. Qi, 349 F. Supp. 2d at
26    1279, 1288.
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      DEFENDANT STATE OF QATAR’S MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO PLAINTIFFS’ MOTION FOR THE
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 1    statutory scheme exists to guide the application of these doctrines, consideration of the
 2    State Department’s views may indeed in some cases be required. See, e.g., Alperin, 410
 3    F.3d at 560 (“[I]t is up to the political branches to come to terms with these ‘delicate
 4    [and] complex’ foreign policy decisions ‘for which the Judiciary has neither aptitude,
 5    facilities nor responsibility.’”) (citing Chicago & S. Air Lines, Inc. v. Waterman S.S.
 6    Corp., 333 U.S. 103, 111 (1948)).
 7           By contrast, the FSIA was enacted specifically to permit courts to make foreign
 8    sovereign immunity determinations without recourse to the Executive Branch. To invite
 9    the State Department’s views here would effectively abrogate the statutory intent,
10    running directly counter to Congress’ intention to “free the Government from . . . case-
11    by-case diplomatic pressures.” Verlinden B.V. v. Cent. Bank of Nigeria, 461 U.S. 480,
12    488 (1983). The State Department has itself made precisely this point when solicited by
13    a district court for its position on a foreign sovereign immunity determination. See Hijazi
14    v. Permanent Mission of Saudi Arabia to United Nations, 689 F. Supp. 2d 669, 672
15    (S.D.N.Y. 2010) (noting that the Executive Branch declined to take a position on FSIA
16    issues and explained that “Congress intended that the judiciary make case-by-case
17    determinations when immunity under the FSIA is claimed, freeing the Government from
18    diplomatic pressure”). In addition to causing unnecessary delay, Plaintiffs’ request for
19    such a solicitation in this case would therefore likely prove futile in any case. See, e.g.,
20    Doe v. Federal Democratic Republic of Ethiopia, 189 F. Supp. 3d 6, 11 (D.D.C. 2016)
21    (“The United States ultimately declined . . . to file a brief at this stage of the
22    proceeding.”); Owens v. Republic of Sudan, 174 F. Supp. 3d 242, 253 (D.D.C. 2016)
23    (“[T]he Court also invited the United States to file a statement of interest concerning any
24    of the issues raised by Sudan’s motions, but the United States declined to file such a
25    statement.”).
26           Plaintiffs offer no valid justification for departing from the established precedent
27    confirming the judiciary’s role in applying the FSIA. Their failure to do so underscores
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      DEFENDANT STATE OF QATAR’S MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO PLAINTIFFS’ MOTION FOR THE
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 1    that the true purpose of their request is to postpone the Court’s proper dismissal of this
 2    lawsuit. The Court should not indulge tactics so clearly motivated by an effort to delay
 3    final resolution of these proceedings. 3
 4    II.    Plaintiffs misstate Qatar’s arguments in support of its motion to dismiss.
 5           Qatar’s arguments for dismissal are statutory. They depend on the FSIA and
 6    whether its exceptions apply here. Yet Plaintiffs try to justify their motion by asserting
 7    that “Qatar argues the court should dismiss the FAC because Plaintiffs’ claims implicate
 8    diplomatic, international relations, and national security concerns that are within the
 9    exclusive province of the Executive Branch.” Dkt. 169-1, 3:4-7. According to Plaintiffs,
10    “[t]he position of the State Department is necessary to evaluate Qatar’s foreign policy
11    and national security arguments in support of dismissal.” Id., 3:2-3.
12           This argument mischaracterizes the clear statutory grounds upon which Qatar
13    actually relies for dismissal, summarized at the outset of Qatar’s opening brief: “Because
14    Plaintiffs fail to establish any statutory exception to Qatar’s presumptive immunity, the
15    FSIA absolutely bars this lawsuit and deprives this Court of jurisdiction over Qatar.”
16    Dkt. 112-1, 3:8-10. Qatar’s grounds for dismissal are developed in considerably more
17    detail in the brief’s “Argument” section, which explains that neither the noncommercial
18    tort exception nor the commercial activity exception applies to lift Qatar’s immunity to
19    suit, and dismissal of the suit in its entirety is required pursuant to Federal Rule of Civil
20    Procedure 19. Id., 10-24. With the motion fully briefed and taken under submission, the
21    Court already has all of the input it needs to rule.
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24      If the Court nonetheless determines that it should solicit input from the Executive
      Branch, it should stay all proceedings pending receipt of the State Department’s
25    statement of interest, if any, as it would be unjust to allow free-ranging discovery into
      Qatar’s diplomatic affairs, in contravention of its sovereign immunity, for months while
26    the Court awaits that input.
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 1           Plaintiffs cherry-pick from the “Factual Background” section of Qatar’s brief to
 2    support their mischaracterization of what the Court needs to decide. This case
 3    unquestionably implicates both Qatar’s and the United States’ national and international
 4    security and diplomatic interests, id., 5:4-6, and Qatar’s discussion of its relationship with
 5    the United States primarily serves to correct, from readily available public sources, the
 6    misleading and distorted description found in Plaintiffs’ pleadings. That context
 7    illustrates the importance of the Court’s prompt application of the FSIA statutory
 8    language and case law to dismiss Plaintiffs’ claims. But that context is not a necessary
 9    predicate to dismissal. Indeed, Plaintiffs do not cite to a single decision where a court
10    sought the views of the State Department on the foreign policy context to an otherwise
11    straightforward FSIA case, and doing so here would create a burdensome and
12    unnecessary precedent for both the courts and the Executive Branch. Plaintiffs surely
13    understand that no legitimate purpose would be served by the further delay associated
14    with requesting the State Department’s position. Their purpose is not to obtain the
15    answer they seek, but to prolong these proceedings while seeking it.
16                                                CONCLUSION
17           For the reasons set forth above, this Court should deny Plaintiffs’ Motion for the
18    Court to Solicit the Position of the United States Department of State.
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20    Dated: August 6, 2018                              Respectfully submitted,
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                                                         COVINGTON & BURLING LLP
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23                                                       By: /s/ Mitchell A. Kamin
                                                              MITCHELL A. KAMIN
24                                                            Attorneys for Defendant State of Qatar
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      DEFENDANT STATE OF QATAR’S MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO PLAINTIFFS’ MOTION FOR THE
                         COURT TO SOLICIT THE POSITION OF THE UNITED STATES DEPARTMENT OF STATE
